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                    IN THE UNITED STATES DISTRICT COURT FOR
                           NORTHERN DISTRICT OF FLORIDA
                                     (Gainesville Division)


UNITED STATES OF AMERICA )
                         )
          v.             )                                  Docket No. 1:04CR10-007(S)
                         )
MARCIA THURMAN           )


                                      ORDER


       This matter is sua sponte before the Court. Due to circumstances beyond Defendant’s

control, it is not feasible for Defendant to complete her term of residence at a community service

center. Thus,

       IT IS HEREBY ORDERED that the defendant’s condition of probation requiring her to

reside at a Bureau of Prisons Community Service Center for a period of 180 days is hereby modified,

allowing the defendant to be discharged early from this program. The defendant is hereby

successfully released from this program effective on the date of her discharge, November 5, 2005.

       All other terms and conditions previously imposed shall remain in full force and effect.

       DONE AND ORDERED this 15th day of November, 2005.


                                        s/ Stephan P. Mickle
                                      Stephan P. Mickle
                                      United States District Judge
